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 3
     Attorneys for Defendant
 4
     Vy Pham
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                              ) Case No.: 2:10 CR 0042 MCE
     UNITED STATES OF AMERICA,                  )
10                                              ) STIPULATION AND ORDER
                  Plaintiff,                    ) CONTINUING SENTENCING
11                                              )
           v.                                   )
12                                              )
     VY PHAM, et al,                            )
13                                              )
                  Defendant.                    )
14
15
           It is hereby stipulated between the parties, Jason Hitt, Assistant United States
16
17   Attorney, Linda Harter, attorney for Keit Tran and Michael Chastaine, attorney for Vy

18   Pham, that the sentencing date of Thursday, March 14, 2013 should be continued until
19
     Thursday May 30, 2013. The continuance is requested for the following reasons: Keit
20
     Tran has not yet been interviewed by probation so the PSR has not yet been completed.
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22   Keit Tran and Vy Pham are engaged and currently live together. They seek to be
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     sentenced and remained at the same time. The Government has no objection to having
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     Mr. Tran and Ms. Pham sentenced at the same time.
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26
27
     .
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 1   Dated: March 20, 2013                   By: ____/s/ Michael Chastaine
                                             MICHAEL CHASTAINE
 2
                                             Attorney for Vy Pham
 3
 4   Dated: March 20, 2013                   By: ____/s/ Michael Chastaine for Linda Harter
                                                   LINDA HARTER
 5
                                             Attorney for Keit Tran
 6
 7
 8   Dated: March 20, 2013                   BENJAMIN B. WAGNER
                                             United States Attorney
 9
10                                           By: /s/ Michael Chastaine for Jason Hitt___
                                                     Jason Hitt
11                                                   Assistant U.S. Attorney
12
13                                          ORDER

14         GOOD CAUSE APPEARING, in that it is the stipulation of the parties that the

15   sentencing scheduled for Thursday, March 14, 2013 at 9:00 a.m. be continued to

16   Thursday, May 30, 2013 at 9:00 a.m.

17         IT IS SO ORDERED.

18   DATED: March 27, 2013

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                                           __________________________________________
21                                         MORRISON C. ENGLAND, JR., CHIEF JUDGE
22                                         UNITED STATES DISTRICT JUDGE

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